
693 N.W.2d 824 (2005)
472 Mich. 873-882
Sweebe
v.
Estate of Sweebe.
Docket No. 126913, COA No. 253520.
Supreme Court of Michigan.
March 31, 2005.
Application for leave to Appeal.
On order of the Court, the application for leave to appeal the July 19, 2004 order of the Court of Appeals is considered, and it is GRANTED. We further ORDER that this case be argued and submitted to the Court together with the case of Pruchno v. Pruchno (Docket No. 126858), at such future session of the Court as both cases are ready for submission.
The Elder Law, Family Law and Probate &amp; Estate Planning Sections of the State Bar of Michigan are invited to file briefs amicus curiae. Other persons or groups interested in the determination of the questions presented in this case may move the Court for permission to file briefs amicus curiae.
